     Case 2:19-cv-01109 Document 1 Filed 02/13/19 Page 1 of 12 Page ID #:1



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     Dental Corporation and the Class
11
                           UNITED STATES DISTRICT COURT
12
            CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
13
14
15    M. Papadopoulos Dental                       Case No. 2:19-cv-1109
      Corporation, a California corporation,
16    individual and on and on behalf of all
      others similarly situated,
17                                                 CLASS ACTION COMPLAINT
                                Plaintiff,
18
      v.
19                                                 JURY TRIAL DEMANDED
      First Continuing Education
20    Administration, LLC d/b/a CE
      Karma, a Delaware corporation,
21
                                Defendant.
22
23         1.     Plaintiff M. Papadopoulos Dental Corporation (“Papadopoulos” or
24   “Plaintiff”) brings this Class Action Complaint against First Continuing Education
25   Administration, LLC d/b/a CE Karma (“CE Karma” or “Defendant”) to stop its
26   practice of sending unsolicited fax advertisements to consumers and to obtain redress
27   for all persons injured by its conduct. Plaintiff, for its Class Action Complaint,
28   alleges as follows upon personal knowledge as to itself and its own acts and

      CLASS ACTION COMPLAINT                 -1-
     Case 2:19-cv-01109 Document 1 Filed 02/13/19 Page 2 of 12 Page ID #:2




 1   experiences, and, as to all other matters, upon information and belief, including an
 2   investigation conducted by its attorneys.
 3                                           PARTIES
 4          2.     Plaintiff M. Papadopoulos Dental Corporation is a corporation
 5   incorporated and existing under the laws of the State of California with its principal
 6   place of business located at 1235 W. Sepulveda Blvd., Torrance, California 90502.
 7          3.     Defendant First Continuing Education Administration, LLC is a limited
 8   liability company organized and existing under the laws of the State of Utah with its
 9   primary place of business is located at 265 E. 100 S, Suite 200, Salt Lake City, Utah
10   84111.
11                                       JURISDICTION
12          4.     This Court has subject matter jurisdiction over this action pursuant to 28
13   U.S.C. § 1331, as the action arises under the Telephone Consumer Protection Act, 47
14   U.S.C. § 227, et seq., a federal statute. On information and belief, the Court also has
15   jurisdiction under the Class Action Fairness Act (“CAFA”), 28 U.S.C. § 1332,
16   because the alleged Class consists of over 100 persons, there is minimal diversity,
17   and the claims of the class members when aggregated together exceeds $5 million.
18   Further, none of the exceptions to CAFA apply.
19          5.     This Court has personal jurisdiction over CE Karma and venue is proper
20   in this District because it solicits significant business in this District, and a
21   substantial part of the acts giving rise to the claim occurred in or were directed to
22   individuals within this District.
23                          COMMON ALLEGATIONS OF FACT
24          6.     Defendant CE Karma is a dental continuing education company
25   headquartered in Salt Lake City, Utah.
26          7.     The Telephone Consumer Protection Act of 1991, as amended by the
27   Junk Fax Prevention Act of 2005 (“JFPA” or the “Act”), 47 U.S.C. § 227, et seq. and
28   the regulations promulgated under the Act, prohibit a person or entity from faxing or
      CLASS ACTION COMPLAINT                  -2-
     Case 2:19-cv-01109 Document 1 Filed 02/13/19 Page 3 of 12 Page ID #:3




 1   having an agent fax advertisements without the recipient’s prior express consent,
 2   invitation, and permission. The JFPA provides a private right of action that includes
 3   statutory damages of $500 per violation and together with appropriate injunctive
 4   relief. Upon information and belief, Defendant has sent facsimile transmissions of
 5   unsolicited advertisements to Plaintiff and the Class in violation of the JFPA. (See
 6   “CE Karma Faxes,” a true and correct copy of which is attached hereto as Exhibit
 7   A.)
 8         8.     The CE Karma Faxes promote the services and goods of Defendant,
 9   namely its for-profit continuing education courses. On information and belief,
10   Defendant has sent, and continues to send, unsolicited advertisements via facsimile
11   transmission in violation of the JFPA to Plaintiff and numerous other consumers.
12         9.     Unsolicited faxes cause concrete and particularized legal harm and
13   damages to their recipients. A junk fax recipient loses the use of its fax machine,
14   paper, and ink toner. An unsolicited fax wastes the recipient’s time that would have
15   been spent on something else. A junk fax also invades the recipient’s privacy.
16   Unsolicited faxes prevent fax machines from receiving authorized faxes, prevent
17   their use for authorized outgoing faxes, cause undue wear and tear on the recipients’
18   fax machines, and require additional labor to attempt to discern the source and
19   purpose of the unsolicited message.
20         10.    On behalf of itself and all others similarly situated, Plaintiff brings this
21   case as a class action asserting claims against Defendant under the JFPA.
22         11.    Plaintiff is informed and believes, and upon such information and belief
23   avers, that this action is based upon a common nucleus of operative fact because the
24   facsimile transmissions at issue were and are being sent in the same or similar
25   manner. This action is based on the same legal theory, namely liability under the
26   JFPA. This action seeks relief expressly authorized by the JFPA: (i) injunctive and
27   declaratory relief enjoining Defendant, its employees, agents, representatives,
28   contractors, affiliates, and all persons and entities acting in concert with them, from
      CLASS ACTION COMPLAINT                 -3-
     Case 2:19-cv-01109 Document 1 Filed 02/13/19 Page 4 of 12 Page ID #:4




 1   sending unsolicited advertisements in violation of the JFPA; and (ii) an award of
 2   statutory damages in the minimum amount of $500 for each violation of the JFPA,
 3   and to have such damages trebled, as provided by § 227(b)(3) of the Act.
 4                           FACTS SPECIFIC TO PLAINTIFF
 5         12.    On August 30, 2017, CE Karma transmitted or otherwise caused to be
 6   sent, by telephone facsimile machine or similar technology, an unsolicited fax
 7   advertisement to Plaintiff. (See Ex. A.)
 8         13.    On September 21, 2017, Defendant again caused an unsolicited fax
 9   advertisement to be transmitted to Plaintiff. (See Ex. A.)
10         14.    True and accurate copies of both faxes are attached hereto as Exhibit A.
11         15.    CE Karma knew about, profited from, and received the benefits of
12   marketing of its products and is a responsible party under the JFPA.
13         16.    Defendant created or made Exhibit A, which Defendant knew or should
14   have known advertises Defendant’s goods or products (namely, its for-profit dental
15   continuing education courses), and Defendant intended to and did in fact distribute
16   the faxes Plaintiff and the other members of the Class.
17         17.    Exhibit A is part of Defendant’s work or operations to market
18   Defendant’s goods or services, which are performed by Defendant and/or on behalf
19   of Defendant. Therefore, Exhibit A constitutes material furnished in connection with
20   Defendant’s work or operations.
21         18.    Plaintiff has never invited nor given permission to Defendant to send
22   the faxes nor did Plaintiff have any prior relationship with Defendant at the time the
23   faxes were sent or otherwise.
24         19.    On information and belief, Defendant faxed the same, or substantially
25   similar, unsolicited facsimile to Plaintiff and more than 40 other recipients without
26   first receiving the recipients’ express permission or invitation.
27         20.    As a result of Defendant’s conduct, Plaintiff suffered concrete
28   particularized legal harm and damages. That is, Plaintiff lost the use of its fax
      CLASS ACTION COMPLAINT                -4-
     Case 2:19-cv-01109 Document 1 Filed 02/13/19 Page 5 of 12 Page ID #:5




 1   machine, paper, and ink toner. Further, Defendant’s junk faxes invaded the
 2   Plaintiff’s privacy.
 3         21.    There is no reasonable means for Plaintiff (or any other class member)
 4   to avoid receiving unauthorized faxes. Fax machines, such as the machine utilized by
 5   Plaintiff, are left on and ready to receive the urgent communications their owners
 6   desire to receive.
 7                                 CLASS ALLEGATIONS
 8         22.    Plaintiff brings this action pursuant to Federal Rule of Civil Procedure
 9   23(b)(2) and Rule 23(b)(3) on behalf of itself and the Class as defined as follows:	
10         No Express Permission Class: All persons who (1) on or after four
11         years prior to the filing of this action through the date on which notice
12         is sent to the Class, (2) were sent, by Defendant or on Defendant’s
13         behalf, (3) a telephone facsimile message substantially similar to
14         Exhibit A, (4) from whom Defendant claims it obtained prior express
15         permission or invitation to send those faxes in the same manner as
16         Defendant claims it obtained prior express consent to fax the Plaintiff.
17         23.    The following individuals are excluded from the Class: (1) any Judge or
18   Magistrate presiding over this action and members of their families; (2) Defendant,
19   Defendant’s subsidiaries, parents, successors, predecessors, and any entity in which
20   Defendant or their parents have a controlling interest and their current or former
21   employees, officers and directors; (3) Plaintiff’s attorneys; (4) persons who properly
22   execute and file a timely request for exclusion from the Class; (5) the legal
23   representatives, successors or assigns of any such excluded persons; and (6) persons
24   whose claims against Defendant have been fully and finally adjudicated and/or
25   released. Plaintiff anticipates the need to amend the class definition following
26   appropriate discovery.
27         24.    Numerosity: The exact number of members within the Class is
28   unknown and not available to Plaintiff at this time, but individual joinder is
      CLASS ACTION COMPLAINT                -5-
     Case 2:19-cv-01109 Document 1 Filed 02/13/19 Page 6 of 12 Page ID #:6




 1   impracticable. On information and belief, Defendant sent unsolicited fax
 2   advertisements to hundreds if not thousands of persons who fall into the Class. The
 3   exact number of members of the Class can be identified through Defendant’s records
 4   and by reference to other objective criteria.
 5            25.   Commonality: Common questions of law and fact apply to the claims
 6   of all class members. Common material questions of fact and law include, but are
 7   not limited to, the following:
 8                  a.     Whether the Defendant sent unsolicited fax advertisements or
 9            caused such fax advertisements to be sent to the Plaintiff and the other class
10            members;
11                  b.     Whether the Defendant’s faxes advertised the commercial
12            availability of Defendant’s good and/or services;
13                  c.     Whether Defendant obtained prior express invitation or
14            permission from the recipients to send the faxes; and
15                  d.     Whether the Defendant sent the faxed advertisements knowingly
16            or willfully such that treble damages are warranted.
17            26.   Typicality: The Plaintiff’s claims are typical of the claims of all class
18   members. The Plaintiff received the CE Karma Faxes sent by or on behalf of the
19   Defendant advertising Defendant’s goods, equipment, and/or services during the
20   relevant time period. The Plaintiff is making the same claims and seeking the same
21   relief for itself and all class members based upon the same federal statute. The
22   Defendant has acted the same or in a similar manner with respect to the Plaintiff and
23   all the class members.
24            27.   Adequate Representation: The Plaintiff and its counsel will fairly and
25   adequately represent and protect the interests of the Class. It is interested in this
26   matter, has no actual conflicts with any of the other class members, and has retained
27   experienced class counsel, who are similarly without conflicts, to represent the
28   Class.
      CLASS ACTION COMPLAINT                  -6-
     Case 2:19-cv-01109 Document 1 Filed 02/13/19 Page 7 of 12 Page ID #:7




 1         28.    Conduct Similar Towards All Class Members: Class certification is
 2   appropriate because the Defendant has acted and refused to act in the same or similar
 3   manner with respect to all class members thereby making injunctive and
 4   corresponding declaratory relief appropriate. The Plaintiff requests such relief as
 5   authorized and appropriate by 47 U.S.C. § 227, et seq.
 6         29.    Predominance, Superiority, and Manageability: Common questions
 7   of law and fact predominate over any questions affecting only individual members,
 8   and a class action is superior to other methods for the fair and efficient adjudication
 9   of the controversy because:
10                a.     Proof of the claims of the Plaintiff will also prove the claims of
11         the Class without the need for separate or individualized proceedings;
12                b.     Evidence regarding defenses or any exceptions to liability that the
13         Defendant may assert and prove will come from the Defendant’s records and
14         will not require individualized or separate inquiries or proceedings;
15                c.     The Defendant has acted and continues to act pursuant to
16         common policies or practices in the same or similar manner with respect to all
17         class members;
18                d.     The amount likely to be recovered by individual class members
19         does not support individual litigation. A class action will permit a large
20         number of relatively small claims involving virtually identical facts and legal
21         issues to be resolved efficiently in one proceeding based upon common
22         proofs; and
23                e.     This case is manageable as a class action in that:
24                       i.    The Defendant identified persons or entities to receive the
25                fax transmission and it is believed that the Defendant’s telephone,
26                computer, and business records will enable the Plaintiff to identify class
27                members and establish liability and damages;
28
      CLASS ACTION COMPLAINT                -7-
     Case 2:19-cv-01109 Document 1 Filed 02/13/19 Page 8 of 12 Page ID #:8




 1                         ii.     Liability and damages can be established for the Plaintiff
 2                and the Class with the same common proofs;
 3                         iii.    Statutory damages are provided for in the statute and are
 4                the same for all class members and can be calculated in the same or a
 5                similar manner;
 6                         iv.     A class action will result in an orderly and expeditious
 7                administration of claims and it will foster economics of time, effort and
 8                expense;
 9                         v.      A class action will contribute to uniformity of decisions
10                concerning the Defendant’s practices; and
11                         vi.     As a practical matter, the claims of the Class are likely to
12                go unaddressed absent class certification.	
13                                  FIRST CAUSE OF ACTION
14                                Violation of 47 U.S.C. § 227, et seq.
15                       (On Behalf of Plaintiff and the No Consent Class)
16         30.    Plaintiff incorporates by reference the foregoing allegations as if fully
17   set forth herein.
18         31.    The JFPA makes unlawful for any person to “use any telephone
19   facsimile machine, computer or other device to send, to a telephone facsimile
20   machine, an unsolicited advertisement . . .” 47 U.S.C. § 227(b)(1)(C).
21         32.    The JFPA defines “unsolicited advertisement” as “any material
22   advertising the commercial availability or quality of any property, goods, or services
23   which is transmitted to any person without that person’s prior express invitation or
24   permission, in writing or otherwise.” 47 U.S.C. § 227(a)(5).
25         33.    The faxes sent by Defendant advertised its continuing legal education
26   courses that Defendant charges individuals to register for and attend. The faxes were
27   commercial in nature, and constitute advertisements under the JFPA.
28
      CLASS ACTION COMPLAINT                    -8-
     Case 2:19-cv-01109 Document 1 Filed 02/13/19 Page 9 of 12 Page ID #:9




 1         34.    Plaintiff and the other class members never gave prior express consent,
 2   invitation, or permission to receive the faxes.
 3         35.    The Faxes. Defendant sent the CE Karma Faxes via facsimile
 4   transmission from telephone facsimile machines, computers, or other devices to the
 5   telephone facsimile machines of Plaintiff and members of the No Consent Class. The
 6   faxes constituted an advertisement under the Act. The faxes were transmitted to
 7   persons or entities without their prior express permission or invitation. Defendant
 8   violated the JFPA and the regulations promulgated thereunder by sending the faxes
 9   via facsimile transmission to Plaintiff and members of the No Consent Class.
10         36.    Defendant’s Other Violations of the Act. Plaintiff is informed and
11   believes, and upon such information and belief avers, that during the period
12   preceding four years of the filing of this Complaint and repeatedly thereafter,
13   Defendant has sent via facsimile transmission from telephone facsimile machines,
14   computers, or other devices to telephone facsimile machines of members of the No
15   Consent Class faxes that constitute advertisements under the JFPA that were
16   transmitted to persons or entities without their prior express permission or invitation.
17   Defendant violated the JFPA and the regulations promulgated thereunder. Plaintiff is
18   informed and believes, and upon such information and belief avers, that Defendant
19   continues to send unsolicited advertisements via facsimile transmission in violation
20   of the JFPA and the regulations promulgated thereunder, and absent intervention by
21   this Court, will do so in the future.
22         37.    The TCPA/JFPA provides a private right of action to bring this action
23   on behalf of Plaintiff and the No Consent Class to redress Defendant’s violations of
24   the Act and provides for statutory damages. 47 U.S.C. § 227(b)(3), et seq. The Act
25   also provides that injunctive relief is appropriate. Id.
26         38.    Defendant is liable to the Plaintiff and the other members of the No
27   Consent Class even if it did not intend to send the faxes or to send them without first
28   obtaining prior express invitation or permission.
      CLASS ACTION COMPLAINT                 -9-
     Case 2:19-cv-01109 Document 1 Filed 02/13/19 Page 10 of 12 Page ID #:10




 1         39.    Defendant knew or should have known that: (1) the Plaintiff and the
 2   other members of the No Consent Class had not given express invitation or
 3   permission for the Defendant or anybody else to fax advertisements about the
 4   Defendant’s goods or services; and (2) the faxes constituted an advertisement.
 5   Defendant acted in conscious disregard of such facts.
 6         40.    The Defendant’s actions caused damage to the Plaintiff and the other
 7   class members. Receiving the Defendant’s junk faxes caused the recipients to lose
 8   paper and toner consumed in the printing of the Defendant’s faxes. Moreover, the
 9   Defendant’s faxes used the Plaintiff's fax machine. The Defendant’s faxes cost the
10   Plaintiff time, as the Plaintiff and its employees wasted their time receiving,
11   reviewing, and routing the Defendant’s unauthorized faxes. That time otherwise
12   would have been spent on the Plaintiff's business activities. The Defendant’s faxes
13   unlawfully invaded the Plaintiff’s and other No Consent Class Members’ privacy
14   interests in being left alone. Finally, the injury and property damage sustained by
15   Plaintiff and the other members of the No Consent Class from the sending of
16   Defendant’s advertisements occurred outside of Defendant’s premises.
17         41.    As a result of Defendant’s conduct, Plaintiff and the other members of
18   the No Consent Class are each entitled to, pursuant to § 227(b)(3)(B) of the Act, a
19   minimum of $500.00 in damages for each violation of such Act.
20         42.    Furthermore, in the event the Court finds that Defendant’s conduct was
21   willful and knowing, the Court should, pursuant to § 227(b)(3)(C) of the Act, treble
22   the amount of statutory damages recoverable by Plaintiff and the other members of
23   the No Consent Class.
24                                 PRAYER FOR RELIEF
25         WHEREFORE, Plaintiff, on behalf of itself and the Class, prays for the
26   following relief:
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      CLASS ACTION COMPLAINT                - 10 -
     Case 2:19-cv-01109 Document 1 Filed 02/13/19 Page 11 of 12 Page ID #:11




 1                  A.   An order certifying this case as a class action on behalf of the
 2         Class as defined above, appointing Plaintiff as the representative of the Class,
 3         and appointing its attorneys as Class Counsel;
 4                  B.   An award of actual monetary loss from such violations or the sum
 5         of five hundred dollars ($500.00) for each violation, whichever is greater all to
 6         be paid into a common fund for the benefit of the Plaintiff and the class
 7         members;
 8                  C.   An order declaring that Defendant’s conduct was willful and
 9         knowing, and thus an award of actual monetary loss from Defendant’s
10         violations or the sum of one thousand five hundred dollars ($1,500.00) for
11         each violation, whichever is greater all to be paid into a common fund for the
12         benefit of Plaintiff and the class members;
13                  D.   An order declaring that Defendant’s faxes constitute unsolicited
14         advertisements, that Defendant sent the faxes without first obtaining prior
15         express invitation, permission, or consent of the recipients, and enjoining
16         Defendant from further violations, and otherwise protecting the interests of the
17         Class;
18                  E.   An award of pre-judgment interest;
19                  F.   An award of reasonable attorneys’ fees and costs to be paid out of
20         the common fund prayed for above; and
21                  G.   Such further and other relief the Court deems reasonable and just.
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      CLASS ACTION COMPLAINT                - 11 -
     Case 2:19-cv-01109 Document 1 Filed 02/13/19 Page 12 of 12 Page ID #:12




 1                                      JURY DEMAND
 2         Plaintiff requests a trial by jury of all claims that can be so tried.
 3
 4                                            Respectfully submitted,
 5
 6   Dated: February 13, 2019                 M. Papadopoulos Dental Corporation,
                                              individually and on behalf of all others
 7                                            similarly situated,
 8
 9
                                       By:      s/ Michael Aschenbrener
10                                            One of Plaintiff’s Attorneys
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19                                            *Pro Hac Vice admission to be sought
20                                            Counsel for Plaintiff and the Putative Class
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      CLASS ACTION COMPLAINT                 - 12 -
